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                            IN THE UNITED STATES DISTRICT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:19-cv-00455

   GENE SEGALIS, INDIVIDUALLY AND
   ON BEHALF OF ALL OTHERS SIMILARLY SITUATED,

          Plaintiffs,
   v.

   MOLSON COORS BREWING COMPANY, A DELAWARE CORPORATION
   MARK R. HUNTER, AND TRACEY I. JOUBERT

          Defendants.


   [PROPOSED] ORDER GRANTING MOTION BY ELECTRICAL WORKERS PENSION
     FUND, LOCAL 103 I.B.E.W. FOR CONSOLIDATION, APPOINTMENT AS LEAD
                PLAINTIFF, AND APPROVAL OF LEAD COUNSEL
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          Having considered the Electrical Workers Pension Fund, Local 103 I.B.E.W.’s (“Local

   103”) Motion for Consolidation, Appointment as Lead Plaintiff and Approval of Lead Counsel in

   the above-captioned action, and good cause appearing therefor, the Court ORDERS as follows:

                 1.      The Motion is granted.

                 2.      This Order (the “Order”) shall apply to the above-captioned action (the

          “Action”) and to each case that relates to the same subject matter that is subsequently

          filed in this Court or is transferred to this Court, and is consolidated with the Action.

                 3.      A Master File is established for this proceeding. The Master File shall be

          Civil Action No. 1:19-cv-00455. The Clerk shall file all pleadings in the Master File and

          note such filings on the Master Docket.

                 4.      An original of this Order shall be filed by the Clerk in the Master File.

                 5.       The Clerk shall serve a copy of this Order on all counsel of record in the

          Action. Every pleading in the Action shall have the following caption:

          Civil Action No.: 1:19-cv-00455

          IN RE MOLSON COORS BREWING COMPANY SECURITIES LITIGATION

                 6.      The Court requests the assistance of counsel in calling to the attention of

          the Clerk of this Court the filing or transfer of any case that may properly be consolidated

          as part of the Action.

                 7.      Each new case that arises out of the subject matter of the Action shall be

          consolidated with the Action. This Order shall apply thereto, unless a party objects to

          consolidation (as provided for herein), or to any provision of this Order, within ten (10)

          days after the date upon which a copy of this Order is served on counsel for such party by

          filing an application for relief, and this Court deems it appropriate to grant such




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         application. Nothing in the foregoing shall be construed as a waiver of Defendants’ right

         to object to consolidation of any subsequently-filed or transferred related action.

                8.      Local 103 is appointed to serve as Lead Plaintiff in the Action pursuant to

         15 U.S.C. § 78u-4(a)(3)(B).

                9.      Local 103’s selection of Franklin D. Azar & Associates, P.C. and

         Thornton Law Firm, LLP as Lead Counsel for the Class in the Action is approved

         pursuant to 15 U.S.C. § 78u-4(a)(3)(B)(v). Lead Counsel shall have the authority to speak

         for all Plaintiffs and Class members in all matters regarding the litigation, including, but

         not limited to, pretrial proceedings, motion practice, trial, and settlement. Lead Counsel

         shall make all work assignments in such a manner as to facilitate the orderly and efficient

         prosecution of this litigation, and to avoid duplicative or unproductive effort.

         Additionally, Lead Counsel shall have the following responsibilities:

                        a.      to brief and argue motions;

                        b.      to initiate and conduct discovery, including, but not limited to,

                                coordination of discovery with Defendants’ counsel, and the

                                preparation of written interrogatories, requests for admissions, and

                                requests for production of documents;

                        c.      to direct and coordinate the examination of witnesses in

                                depositions;

                        d.      to act as a spokesperson at pretrial conferences;

                        e.      to call and chair meetings of Plaintiffs’ counsel as appropriate or

                                necessary from time to time;




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                    f.       to initiate and conduct any settlement negotiations with

                             Defendants’ counsel;

                    g.       to provide general coordination of the activities of Plaintiffs’

                             counsel and to delegate work responsibilities to selected counsel as

                             may be required, such a manner as to lead to the orderly and

                             efficient prosecution of this litigation and to avoid duplication or

                             unproductive effort;

                    h.       to consult with and employ experts;

                    i.       to receive and review periodic time reports of all attorneys on

                             behalf of Plaintiffs, to determine if the time is being spent

                             appropriately and for the benefit of Plaintiffs, and to determine and

                             distribute Plaintiffs’ attorneys’ fees; and

                    j.       to perform such other duties as may be expressly authorized by

                             further order of this Court.

         IT IS SO ORDERED.
   DATED: ________________                   __________________________________________
                                             HONORABLE DAVID M. EBEL
                                             UNITED STATES DISTRICT JUDGE




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